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BROIDY CAPITAL MANAGEMENT
LLC, ELLIOTT BROIDY, and ROBIN
ROSENZWEIG,

Plaintiffs,

V.

STATE OF ATAR, STONINGTON
STRATEGIE LLC, NICOLAS D.
MUZIN, and DOES 1- 10,

Defendants.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT

Case No. 2:18-CV-02421-JFW-(EX)
The Honorable John F. Walter

DECLARATION OF LEE
WOLOSKY IN SUPPORT OF
PLAINTIFFS’ EX PARTE
APPLICATION FOR l
TEMPORARY REST INING
ORDER AGAINST DEFENDANTS
§)2 ORDER TO SHOW CAUSE FOil
LIMINARY INJUNCTION;
AND 3) ORDER GRANTING
EXPE ITED DISCOVERY

[Ex Parte Agplication; Memorandum
of Points an Authorities;
Declarations of Elliott Broidy, Joel
Mowbray and Luke Tenery;
gropose ed’] Temporary Restraining
rder Order to Show Cause
Regarding Preliminary Injunction,

 

 

 

DECLARATION OF LEE WOLOSKY

 

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and Order Granting Expedited
Discovery‘ and [Proposed] Order
Granting i’reliminaryllnjunction filed
concurrently herewit ]

 

 

DECLARATION OF LEE WOLOSKY

 

 

 

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DECLARATION ()F LEE WOLOSKY

I, Lee Wolosky, hereby declare as follows:

1. l am a Partner at the law firm of Boies Schiller Flexner LLP. I represent
the Plaintiffs in this action.

2. l served as a Director for Transnational Threats on the National
Security Council under Presidents B111 Clinton and George W. Bush and l held the
position of U.S. Special Envoy for Guantanamo Closure under President Barack
Obama. Based on my work as a former senior U.S. government official in the
national security area, l am experienced in recognizing hostile intelligence
operations conducted by foreign sovereigns.

3. As part of my representation of the Plaintiffs in this matter, I am
responding to numerous inquiries from reporters and members of the media about
material they have received from anonymous sources that purports to be emails and
documents stolen from my clients.

4. The information warfare campaign being waged against my clients is
sophisticated Rather than simply dumping all of the information on one website,
these hackers have carefully curated different collections of materials and
distributed those collections to different reporters at carefully selected moments.
This has ensured maximum, staggered coverage, and maximum damage to my
clients’ reputation, since each reporter gets a “new” story to pursue, enabling the
reporter to portray the article being written as a news scoop within the broader
context of ongoing media coverage of my clients. As the Hujington Post reported
on March 26, 2018: “The leaker was strategic, providing different news outlets with
different documents, ensuring that each outlet would feel it had newsworthy
material.” A copy of that article is attached hereto as Exhibit 1.

5. The methodical approach of the attack and dissemination of stolen

materials suggests the attackers had a clear motive in trying to harm my clients.

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DECLARATION OF LEE WOLOSKY

 

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Indeed, the New York Times confirmed in its article on March 25, 2018 that the
source of the documents on which it was relying Was “an anonymous group critical
of Mr. Broidy’s advocacy of American foreign policies in the Middle East.” A copy
of that article is attached hereto as Exhibit 2.

6. The Huffington Post reported on February 28, 2018 that it had received
a batch of materials concerning my clients. The Hujington Post reported that those
materials, which concerned Plaintiff Robin Rosenzweig’s business dealings, were
Sent by a group calling itself “L.A. Confidential.”

7 . Other publications have subsequently run additional stories based on
that stolen information: The Wall Street Journal ran a story on March 1, 2018
(concerning purported business dealings involving Malaysia). Other publications
(including the New York Times and the BBC) ran stories between March 1 and 5. A
copy of the articles in the publications identified above are attached hereto as
Exhibits 3-5.

8. On March 8, 2018, Al Jazeera, a media organization that associated
with the Qatari government and chaired by a member of the Qatari ruling family,
published a story alleging that my client was under criminal investigation in
Ukraine. Unlike the articles published at the same time in other news outlets, the Al
Jazeera article relied on documents that my client told me he had never Seen before
and that had not come from his email account. No other outlet published a story
about this alleged investigation despite numerous inquiries. A copy of that article is
attached hereto as Exhibit 6.

9. On March 19, 2018, 1 wrote a letter to Sheikh Meshal bin Hamad Al
Thani, the Ambassador of Qatar to the United States of America. That letter was
sent to the Embassy of the State of Qatar in Washington, D.C. In that letter, 1
demanded that Qatar’s agents “cease and desist disseminating stolen property.” 1

also asked “[i]f . . . the attack on Mr. Broidy that originated in Qatar was not

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DECLARATION OF LEE WOLOSKY

 

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authorized by your government, then we expect your government to hold
accountable the rogue actors in Qatar.” A reply was requested by March 22, 2018
but no reply has been received to date. A copy of that letter is attached hereto as
Exhibit 7.

10. lnstead, more articles have been published based on the emails and
other documents and information stolen from my clients. Examples of those articles
include a story published on March 26, 2018, by the Associated Press and the lead
article on the front page of the March 26, 2018 New York Times. Copies of each of
those articles and additional articles are attached hereto as Exhibits 8-12.

ll. We continue to receive new inquiries from new reporters about new
subjects related to my clients, based on new documents we have not previously
seen. On March 28, 2018, for example, we received inquiries from Newsweek and
Business lnsider.

12. Because the Embassy of the State of Qatar did not respond to my
request to take action to stop the perpetrators of the hacking and leaking operation,
Plaintiffs filed this action seeking relief on March 26, 2018.

13. 1 have attempted to provide Defendants Stonington Strategies LLC and
Nicolas D. Muzin with a letter informing them of this filing. A copy of the letter is
attached hereto as Exhibit 13. Delivery of the letter was unsuccessful at the New
York City address Stonington Strategies listed on its most recent FARA registration
form because the building (550 Madison Avenue) is vacant and undergoing a
renovation. Delivery was successful at the office of Stonington Strategies’ registered
agent in Delaware, one method of affecting service on Stonington Strategies under
Delaware law. Delivery has been repeatedly attempted at an address in Silver
Spring, MD that is listed on the Department of Justice website as the address for
Muzin Capital Partners LLC, another registered foreign agent owned and operated

by Muzin. That address appears to also be the residence for Muzin. Proof of

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DECLARATION OF LEE WOLOSKY

 

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successful delivery to Stonington Strategies’ registered agent and records of
unsuccessful deliveries to the address in Silver Spring are attached hereto as
Exhibits 14-15.

14. The same letter was also delivered to the Embassy of the State of Qatar
in Washington, D.C. and to the Consulate General of the State of Qatar in Beverly
Hills, CA. Proof of these deliveries is attached hereto as Exhibits 16-17. Counsel
for the State of Qatar acknowledged receipt of the letter. The email from counsel for
Defendant the State of Qatar acknowledging receipt of the letter is attached hereto
as Exhibit 18. This application and its supporting papers have been served on
counsel for Defendant the State of Qatar in accordance with counsel’s request.

15. The process of formally serving the State of Qatar in a manner that
complies with the requirements for serving a foreign sovereign under the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608, is ongoing. Plaintiffs’ pleadings are
currently being translated into Arabic and will be made by mail from the Central
District of California’s clerk of court to Qatar’s Foreign l\/Iinister, Sheikh
Mohammed bin Abdulrahman Al Thani.

16. This declaration and all of Plaintiffs’ filings on this application will be
served on Qatar in the same manner, including translation into Arabic, and on
Stonington Strategies and Muzin in compliance with Delaware and Califomia law,
as required by paragraph 8(b) of the Court’s standing order and Local Rule 7-19.

17. Notwithstanding that service is not yet complete and that Defendants
have yet to appear, the State of Qatar and Muzin have released public statements
acknowledging this suit to the media. Examples of news articles that include quotes
on this suit from a spokesman for the State of Qatar and from Muzin are attached
hereto as Exhibits 9-11. Stonington and Muzin have yet to identify counsel.

18. As required by the Foreign Agents Registration Act (“FARA”),

Stonington Strategies registered as a foreign agent to provide “strategic

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DECLARATION OF LEE WOLOSKY

 

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communications” for the State of Qatar on September 3, 2017. Muzin signed the
FARA documents for Stonington. A copy of Muzin’s registration is attached hereto
as Exhibit 22. Muzin registered as a foreign agent of the State of Qatar around the
same time that at least nine other U.S.-based entities were also hired by the State of
Qatar. On December l 1, 2017 , the compensation paid to Stonington was increased
from $50,000 to $300,000, just days prior to the successful spear-phishing attack on
Plaintiff Rosenzweig on December 27, 2017. A December 21, 2017 amended FARA
filing reflecting the compensation increase is attached hereto as Exhibit 23.

19, 1n support of Plaintiffs’ request for a preliminary injunction, Plaintiffs
wish to depose Muzin and a representative for Stonington and also seek documents
from Muzin and Stonington. Expedited discovery is necessary to allow Plaintiffs to
establish who is involved in disseminating Plaintiffs’ stolen emails and possibly
involved in forging or otherwise altering documents Without discovery, Plaintiffs
will have no way to determine who, other than Defendants Stonington and Muzin,
are involved in the ongoing dissemination of Plaintiffs’ private documents.
Deposition notices and a request for production of documents are attached hereto as
Exhibits 24-26. Plaintiffs’ proposed expedited discovery is limited in that it only
seeks documents from Stonington and Muzin. 1n addition, Stonington and Muzin are
only asked to produce files and answer questions about Stonington and Muzin’s
work for Qatar (which appears to have begun in June 2017), and only on specific
topics.

20. No previous application has been made for the relief requested on
Plaintiffs’ motions for preliminary injunctive relief, a temporary restraining order,

and expedited discovery.

DECLARATION OF LEE WOLOSKY

 

 

 

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Pursuant to 28 U.S.C. § 1746, 1 declare under penalty of perjury that the

foregoing is true and correct.

Dated: March D, 2018

 

 

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Lee I:Wolosky

DECLARATION OF LEE WOLOSKY

 

